O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                                                                              Case No:     DNCW 305CR000391-006
                          Arthur Flowers, Jr.                               )
                                                                              USM No:      09257-058
                                                                            )
Date of Original Judgment:     October 30, 2007
                                                                            )
Date of Last Amended Judgment: N/A                                            Federal Defender
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of                   is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    29                Amended Offense Level:     29
Criminal History Category: II                Criminal History Category: II
Original Guideline Range:  120 to 121 months Amended Guideline Range: 120 to 121 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Note: At the defendant's sentencing hearing on October 30, 2007, the Court took Amendment 706
                    into consideration and granted a two-level reduction in offense level. After considering the most
                    recent crack cocaine amendment, no change is made as the drug amount remains at a base offense
                    level of 32 (between 1,000 to 3,000 kilograms of marijuana equivalency); therefore, the total offense
                    level did not change from a level 29. No reduction is recommended.

III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                      October 30, 2007,     shall remain in effect.
IT IS SO ORDERED .
                                                                                     Signed: December 2, 2011
Order Date:          November 28, 2011


Effective Date:
                       (if different from order date)




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